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    1
                          UNITED STATES DISTRICT COURT
    2                     EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION
    3   ________________________________________________________________

    4                                  )
         UNITED STATES OF AMERICA,     )
    5                                  ) Case No. 1:11-cr-530
                   v.                  ) Alexandria, Virginia
    6                                  )
         WILLIAM LOUIS COLE, JR.,      ) July 13, 2012
    7                                  ) 9:32 a.m.
                   Defendant.          )
    8                                  )
        ________________________________________________________________
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   11                           TRANSCRIPT OF SENTENCING

   12                   BEFORE THE HONORABLE CLAUDE M. HILTON

   13                        UNITED STATES DISTRICT JUDGE

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        APPEARANCES:
   20
        For the United States:       Rebeca Bellows, Esq.
   21
        For the Defendant:           Jonathan Simms, Esq.
   22                                Defendant William Cole, in person

   23     Court Reporter:           Tracy L. Westfall, RPR, CMRS, CCR

   24   Proceedings reported by machine shorthand, transcript produced
        by computer-aided transcription.
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    1                           P R O C E E D I N G S

    2              THE CLERK:    Criminal No. 2011-530, United States of

    3   America v. William Louis Cole, Jr..

    4              MS. GILES:    Good morning, Your Honor.       Patricia Giles

    5   and Rebeca Bellows for the United States.

    6              MS. BELLOWS:    Good morning, Your Honor.

    7              THE COURT:    Good morning.

    8              MR. SIMMS:    Good morning, Your Honor.       Jonathan Simms

    9   on behalf of Mr. Cole.

   10              THE COURT:    Mr. Simms, have you and your client had an

   11   opportunity to review this presentence report?

   12              MR. SIMMS:    We have, Your Honor.

   13              THE COURT:    Any corrections you wish to make to it?

   14              MR. SIMMS:    Your Honor, no corrections, but objections

   15   in regards to the guideline calculation.

   16              THE COURT:    All right.    What are they?

   17              MR. SIMMS:    Your Honor, in regards to the guideline

   18   calculation, the presentence report added two points to

   19   Mr. Cole's offense -- offense level based upon an obstruction of

   20   justice, Your Honor.      The obstruction of justice was based upon

   21   the fact that, from what I understand, is that Mr. Cole put on

   22   evidence and was found guilty by the jury, Your Honor.

   23              When you look at the requirements for an obstruction of

   24   justice enhancement, there's three requirements.            First, that

   25   there was false testimony as to a material -- two, as to a



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    1   material fact; three, that that false testimony was willfully

    2   given in order to obstruct justice.

    3              Your Honor, during Mr. Cole's trial, there is no false

    4   testimony.    There was no false testimony put on by any

    5   witnesses.    There were two witnesses called by Mr. Cole.             The

    6   first witness was Michelle Roberts.        She doesn't know Mr. Cole.

    7   She had no bias towards Mr. Cole.        Your Honor, I subpoenaed her

    8   to come to court to testify to a leasing card document that was

    9   found in her office.      Your Honor, she testified to that.           There

   10   was no false testimony about that card.         As a matter of fact,

   11   the government conceded that that writing --

   12              THE COURT:    I didn't gather that the assessment of

   13   obstruction had been made because of testimony.           It was because

   14   of what was told to police officers during the investigation.

   15              MR. SIMMS:    That's not what the PSR stated, Your Honor.

   16   As a matter of fact, they stated that that would not be enough

   17   for the actual obstruction because he didn't make it.              The only

   18   statement that he made to police officers was that he wasn't in

   19   Fairfax.

   20              THE COURT:    All right.

   21              MR. SIMMS:    Your Honor, I think that your point goes to

   22   the same point that I'm making, Your Honor.          It's not a

   23   situation where Mr. Cole met with officers and deliberately

   24   misled them down, you know, some crazy path or lied to them

   25   while being submitted to questioning.        As a matter of fact, he



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    1   did not even speak to officers other than making that statement.

    2               Your Honor, another witness that was called was

    3   Mr. Charles Ashford.      Mr. Ashford, once again, has no bias

    4   towards Mr. Cole.     And the government states that, well, his

    5   demeanor on the stand was just, you know, as though he was

    6   hiding something and also he made an inconsistent statement to

    7   officers.

    8               He admitted that.    He said yes, I did make that

    9   statement and it contradicts what I said before, but this is

   10   why, this is what happened, and he explained it.            Your Honor,

   11   it's not as though the government proved that Mr. Ashford was

   12   lying or also prove that he was being deliberately mistruthful.

   13   They haven't even proven false testimony.         So they fail to meet

   14   any of these requirements.

   15               Your Honor, just because a defendant in a criminal

   16   trial is found guilty doesn't mean that any evidence that

   17   they've put on is perjured evidence or it doesn't mean that they

   18   have obstructed justice in any way.        As a matter of fact, this

   19   circuit, this court, has made it very clear throughout history

   20   in prior rulings that they have been very, very cautious about

   21   applying obstruction of justice when a criminal defendant puts

   22   on evidence due to the fact that the chilling effect that it can

   23   have on a defendant's right to exercise to have a free -- a fair

   24   trial, to put on evidence, to put on witnesses, Your Honor.

   25               In this case it's not a situation where Mr. Cole paid



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    1   individuals to come here and lie on his behalf.           It's not a case

    2   where Mr. Cole took the stand and testified and the jury found

    3   that he was untruthful, Your Honor.        We don't have that here.

    4              I understand that the government filed a supplemental

    5   position paper yesterday, Your Honor, in regards to a false

    6   alibi argument.     They cited U.S. v. Dowd.      When you look at that

    7   case, which is an unpublished case in the Fourth Circuit, when

    8   you look at the facts, no wonder the defendant in that case got

    9   the obstruction enhancement.

   10              The defendant in that case got caught burying stolen

   11   money.    The defendant in that case got caught laundering money

   12   through businesses.      The defendant in that case made statements

   13   to officers which came out to be lies.         You can't compare that

   14   to Mr. Cole's case because it didn't happen here.            So when you

   15   look at Dowd, no wonder that person got the enhancement.               That

   16   case is clearly distinguishable from what we have here.

   17              Your Honor, based upon the obstruction enhancement,

   18   what we believe is inaccurately applied, Your Honor, Mr. Cole's

   19   correct offense level should be a level 22, Your Honor, which

   20   would bring his guidelines under Category I to 41 to 51.               And if

   21   Your Honor is not persuaded that he's a Category I, then under a

   22   Category II, 45 to 57 months, Your Honor.         In regards to his

   23   criminal history category, we would rely on the papers

   24   previously submitted.

   25              THE COURT:    All right.



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    1              MS. GILES:    Thank you, Your Honor.

    2              First, Your Honor, we filed our responsive brief on

    3   Wednesday pursuant to the local rules, not on yesterday.               This

    4   case is not -- or the obstruction of justice enhancement is not

    5   based on this defendant merely presenting evidence at trial.

    6              This obstruction enhancement is based on the fact that

    7   he attempted to present false alibis at trial.           That is what the

    8   Fourth Circuit on two occasions, as cited in our responsive

    9   brief, has said is sufficient to find obstruction of justice and

   10   that an enhancement would be warranted.

   11              This case is on all fours with the Dowd case because in

   12   that case there was a bank employee that decided to rob various

   13   ATMs.   And what she did was went off and checked into a hotel in

   14   another state, came back, committed the theft, and then returned

   15   to that hotel in order to establish a false alibi.

   16              That's exactly what Defendant Cole did in this case,

   17   Your Honor.    He established and planned prior to this robbery to

   18   go to that location, the Fort Stanton Apartments, and fill out

   19   that visitation card.      So he did that.     After the robbery, he

   20   went and filled out that card.       What he did was he wrote the

   21   date on it and he also wrote the time on it.          And the time that

   22   he wrote down, which he has admitted to writing down, was

   23   2:10 p.m. which is around the time of the robbery.

   24              Now, these are the alibi witnesses, both Ms. Roberts

   25   and Mr. Ashford are the alibi witnesses this defendant brought



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    1   to trial.    He brought them to trial in order to establish his

    2   false alibi, but it was based on the visitation card that he

    3   filled out saying that he was at the apartments at 2:10.

    4               Well, as we argued in our closing arguments and as

    5   shown by our cell site expert, he was at Fort Stanton Apartments

    6   later in the day, around 2:38 p.m., which was after the robbery.

    7   So he wasn't there around the time of the robbery which he

    8   attempted to do or to mislead the Court and the jury to believe.

    9               So in this case, Your Honor, the obstruction of justice

   10   enhancement is based on that false alibi that he presented.                And

   11   as I stated, there are Fourth Circuit cases cited in our

   12   responsive pleadings, the Trantham case and also the Dowd case,

   13   that says false alibi witnesses, whether they are -- and

   14   obviously it's not going to be successful because he has been

   15   convicted, but just the attempt to present that false evidence

   16   or those false alibis is sufficient and warrants an obstruction

   17   of justice enhancement and it is appropriate in this case.

   18               THE COURT:   All right.

   19               MR. SIMMS:   Your Honor, if I can just briefly respond.

   20               Your Honor, it's interesting how the government says

   21   around the time of the robbery, around.         We're talking about

   22   20 minutes here, 20 minutes of a time difference.            Your Honor,

   23   they're submitting that that's enough to give Mr. Cole an

   24   enhancement based upon obstruction of justice.

   25               MS. GILES:   It's not a 20-minute difference, Your



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    1   Honor.    This robbery happened -- okay.

    2              MR. SIMMS:    Your Honor --

    3              THE COURT:    It's his turn.

    4              MR. SIMMS:    Your Honor, it's just not enough to say --

    5   it's not as though -- as a matter of fact, there's no evidence

    6   presented to say that Mr. Cole went there -- I apologize, Your

    7   Honor.    There's no facts in the Dowd case that show that that

    8   person went there after the robbery was committed.

    9              As a matter of fact, the individual in the Dowd case

   10   went there to check into the hotel before going to rob the ATMs.

   11   After they did that, they went back to the hotel to further

   12   supplement that alibi, but the facts in the Dowd case are

   13   completely different.      I read it three times because I couldn't

   14   believe that that was the case they were presenting.

   15              THE COURT:    I understand your position.

   16              Mr. Cole, is there anything you want to say before I

   17   impose sentence?

   18              MR. SIMMS:    Your Honor, I did have additional argument

   19   on the 3553(a) factors, Your Honor, but those are just guideline

   20   factor -- arguments that I wanted to present.

   21              THE COURT:    All right.    Well, quickly then.

   22              MR. SIMMS:    In regards to the 3553(a) factors, Your

   23   Honor, Mr. Cole is an individual who has shown that he can

   24   succeed in society.      He was in the community working as a

   25   personal trainer.     He didn't have a perfect upbringing, he saw



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    1   issues in the home, but at the same time he had a loving family

    2   environment, Your Honor.      He has several children who he

    3   supports and he also loves with pretty much all of his heart.

    4   He speaks to them very often, Your Honor, on the phone and they

    5   come and visit him, and we've also had conversations about his

    6   children.

    7               Your Honor, this individual stands before this court

    8   with one conviction, one conviction.        That is all.      Your Honor,

    9   he's only been convicted of one crime his entire life.               He was

   10   found guilty by the jury during his trial, Your Honor, but he's

   11   asking this court to sentence him to no more than nine years,

   12   Your Honor.    If you're not persuaded to do that, Your Honor,

   13   then we're asking for the bottom of the guidelines in regards to

   14   Mr. Cole's sentencing, Your Honor.

   15               Also, Your Honor, he's requesting to be housed at

   16   Cumberland, Maryland, and also asking for the removal or the

   17   separation order in regards to his codefendant because there's

   18   no issues between them, and he doesn't want to be limited to the

   19   places that he can be housed at during his incarceration.

   20               THE COURT:   Ms. Giles, is there anything you want to

   21   say in response to that?

   22               MS. GILES:   I think this defendant has shown, Your

   23   Honor, that he's a danger to the community and that he is not

   24   someone who is amenable to any kind of supervision while on

   25   release.



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     1               This is -- it's not that he has just one other

     2   conviction.    That other conviction is for manslaughter.            So now

     3   we have two convictions, both crimes of violence, both involving

     4   firearms.    In addition to that, he has a slew of arrests within

     5   his -- within his file, all or many of them involving violent

     6   offenses.    And while they're not convictions, they do tell a

     7   compelling story.     It cannot be ignored that he was on bond at

     8   the time that he committed the robbery in this case and that the

     9   charges that he was on bond for were attempted armed robbery.

    10   Now there's an outstanding warrant for him out of Montgomery

    11   County in relation to another armed robbery that happened the

    12   same month as this bank robbery in this case.

    13               So this sentence should not only be about punishment,

    14   but it's also, at this point, about protecting the community.

    15   We're asking for a sentence of 155 months, which takes into

    16   account the guidelines as well as the mandatory minimum, Your

    17   Honor.

    18               THE COURT:   Mr. Cole, would you come to the podium.

    19               Is there anything you want to say at this time?

    20               THE DEFENDANT:   No, sir.

    21               THE COURT:   All right.     Well, I find the guideline

    22   factors in this case to be properly assessed at a range of 57 to

    23   71 months.    That because of the financial condition of the

    24   defendant, the imposition of any fine or cost is not warranted.

    25               And in considering the factors under Section 3553,



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     1   which I must, considering the nature of this offense, I find

     2   that the upper end of the guideline range would be appropriate.

     3             It will be the sentence of the Court, as to Counts 1,

     4   2, and 4, Mr. Cole, that you be committed to the custody of the

     5   Attorney General to serve a term of 60 months, a 3-year period

     6   of supervised release on Counts 1 and 4, a 5-year period of

     7   supervised release on Count 2.

     8             As to Count 3, that you be committed to the custody of

     9   the Attorney General to serve a term of 84 months, a 5-year

    10   period of supervised release, and pay a special assessment fine

    11   of a hundred dollars as to each of these counts.

    12             The sentences in Counts 1, 2, and 4 will run

    13   concurrently with one another.       The supervised release periods

    14   in all four counts will run concurrently with one another.

    15             I will recommend that you serve your time at the

    16   institution at Cumberland.

    17             MS. GILES:    Your Honor, we asked for restitution.

    18             THE COURT:    All right.    If you would hand that up.

    19   Let's see.    Do you have -- have I already got the order?

    20             MS. GILES:    We also filed a preliminary order of

    21   forfeiture too, Your Honor.

    22             THE COURT:    All right.    That's what I've got here is

    23   the order of forfeiture.      I'll go ahead and sign both of these.

    24             MR. SIMMS:    We ask that any interest be waived.

    25             THE COURT:    I'll waive interest.



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     1             * * *

     2        (Proceedings concluded at 9:46 a.m.)

     3        ________________________________________________________

     4                                 CERTIFICATION

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     6               I certify, this 23rd day of August 2012, that the

     7   foregoing is a correct transcript from the record of proceedings

     8   in the above-entitled matter to the best of my ability.

     9

    10                               /s/
                           ____________________________________
    11                        Tracy Westfall, RPR, CMRS, CCR

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